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MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
SENTENCE BY A PERSON IN FEDERAL CUSTODY
United States District Court [District Court Middle District of Flordéda
Name (urder which you were convicted): Docket or Case Noj} o~
TAVARES FELTON 2:15-cr-
Place of Confinement: Prisoner No.:
POST OFFICE BOX 150160/ATLANTA,GA, 30315 62600-0138
UNITED STATES OF AMERICA Movant (include name under which convicted)
Vv. TAVARES FELTON

 

 

 

MOTION

1. (a) Name and location of court which entered the judgment of conviction you are challenging:
UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF FLORIDA
2110 FIRST STREET,ROOM 2-192/FORT MYERS,FL,33901

 

(b) Criminal docket or case number (if you know): 2:15-cr-Ftm-38CM

2. (a) Date of the judgment of conviction (if you know): _ APRIL 18,2016/7
(b) Date of sentencing: APRIL 18,2016

3. Length of sentence: 188 MONTHS

4. Nature of crime (all counts):

1. Knowingly and intentionally possess with»intent to distribute 100
grams or more of mixture or substance containing a detectable amount of
heroin,in violation of 21 U.S.C.841(a)(1),841(b)(1)(B),and 18 U.S.C.2;
Count Two knowingly and intentionally possess with intent to distribute
a mixture or substance containing a detectable amount of cocaine base,in
violation of 21 U.S.C.841(a)(1)(B)(i),and 18 U.S.C.2; Count Three know-
ingly and intentionally possess with the intent-BEE ATTACHMENT SHEET-—-

5. (a) What was your plea? (Check one)
(1) Not guilty [J (2) Guilty (3) Nolo contendere (no contest) [|

(b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or
what did you plead guilty to and what did you plead not guilty to?

 

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6. If you went to trial, what kind of trial did you have? (Check one) Jury L_| cidge oly [J a
or
7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes [J >si[_ b
ok

>
8. Did you appeal from the judgment of conviction? Yes [| No|_|
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ATTACHEMENT SHEET CONTINUE PAGE ONE
to distribute a substance containing a detectable amount of Alprazolam,

in violation of 21 U.S.C.(a)(1),841(b)(@),and 18 U.S.C.2,and Court Four
knowingly and intentionally possess a Sig Sauer of 5.56mm rifle bearing
serial number Ho9120544 with ammunition,a quantity of 223 ammunition
and a quantity of 9 mm ammunition,in violation of 18 U.S.C.922(g)(1),

924(e)(1),and 2,after having previously been convicted of prior possession

of drugs offenses.
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9. If you did appeal, answer the following:

(a) Name of court:

 

(b) Docket or case number (if you know):
(c) Result:
(d) Date of result (if you know):
(e) Citation to the case (if you know):

 

 

 

 

(f) Grounds raised:

 

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes [| No [|
If “Yes,” answer the following:
(1) Docket or case number (if you know):
(2) Result:

 

 

 

(3) Date of result (if you know):
(4) Citation to the case (if you know):

 

 

(5) Grounds raised:

 

10. Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
concerning this judgment of conviction in any court?
ves} Nol

11. If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court:

(2) Docket or case number (if you know):

 

 

(3) Date of filing (if you know):

 

(4) Nature of the proceeding:
(5) Grounds raised:

 

 

 
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(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes | No [|

(7) Result:
(8) Date of result (if you know):

 

 

(b) If you filed any second motion, petition, or application, give the same information:
(1) Name of court:
(2) Docket of case number (if you know):
(3) Date of filing (if you know):
(4) Nature of the proceeding:

 

 

 

 

(5) Grounds raised:

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?
Yes [-] No (]
(7) Result:
(8) Date of result (if you know):
(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,

 

 

or application?

‘(1)_ First petition: Yes LJ No CJ

(2) Second petition: Yes [| No [|

(d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:

 

12. For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
supporting each ground.
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GROUND ONE: PETITIONER COUNSEL'S WAS INEFFECTIVE OF COUNSEL'S ALONG
WITH A CONFLICT OF INTEREST BY FAILING TO FILE A NOTICE OF APPEAL UPON
THE PETITIONER TO DO SO

(a) Supporting facts (Do not argue or cite law., Just state the specific facts that support your claim.): ,
After the court denied e petitioner hearing to suppress the evidence

the petitioner requested to counsel's Douglas Molly and Manubir S.Arora

to file an appeal on the court order denying the petitioner relief. Counsel's
failure to follows the petitioner instruction to seek for appellate review
created a conflict of interest in which had an adverse affect on counsel's
performance,and denied the petitioner of his right to effective assistance
of counsel at a critical of the proceeding. After the petitioner sentence
petitioner forward counsel a letter making an inguiry on the status on

the appeal,but to no avail counsel's refuse to acknowledge the petitioner.
The facts clearly establish that the petitioner has been denied counsel's

at a critical stage of the proceeding.

 

 

(b) Direct Appeal of Ground One:
(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes [| No

(2) Ifyou did not raise this issue in your direct appeal, explain why:

' : : :
__ Bg ause gguasel (s had failed to file a notice of appeal upon my

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [J No
(2) Ifyou answer to Question (c)(1) is “Yes,” state:
Type of motion or petition:
Name and location of the court where the motion or petition was filed:

 

 

Docket or case number (if you know):

 

Date of the court’s decision:
Result (attach a copy of the court’s opinion or order, if available):

 

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No
(4) Did you appeal from the denial of your motion, petition, or application?

Yes (J No [|

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes (| No [|
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(6) If your answer to Question (c)(4) is “Yes,” state:
Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND TWO: PETITIONER COUNSEL'S FAILURE TO CALL MATERIAL WITNESSES
WHO HELD EXCULPATORY INFORMATIONS AT THE SUPPRESSION HEARING TO EXONERATE

THE PETITIONER THAT HE DID NOT POSSESS "THE GUNS IN WHICH PETITIONER-PLEA.
GUILTY) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Counsel's ineffectiveness created a conflict of interest by failing to
pursue plausible altrategy that would have exculpated the petitioner at
the suppression hearing by failing to call material witnesses at testify
at the hearing. Prior to the hearing an investigator for the defense who
had investigated and interview witnesses. One witness in particular

the petitioner grandmother who provide the investigator with exculpatory
informations that the guns found in her home belonged to her late husband
who passed away. Counsel's had proffer before the court that they would
call five witnesses on the petitioner behalf. The acknowledge it it order
of the deficient performance of counsel's by not calling the witnesses to
testify before the hearing. Counsel's had failed to as for a continuation
to have the arresting officer present at the hearing where the petitioner
was unable to cross-examine the witness,where the officer report was read
by other officer's deprived the petitioner of effective assistance of counsel.

 

(b) Direct Appeal of Ground Two:
(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [| No le |

(2) If you did not raise this issue in your direct appeal, explain why:

Because had failed, bo honor the petitioner request to appeal the
(c) Post-Conviction Proceedings: "

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes [| No [* |
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(2) Ifyou answer to Question (c)(1) is “Yes,” state:
Type of motion or petition:

 

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application? 7

Yes [| No []

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [| No [|

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No [|

(6) If your answer to Question (c)(4) is “Yes,” state:
Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND THREE: PETITIONER IS ACTUAL INNOCENCE OF POSSESSION OF THE GUNS
WHERE PLEA WAS-BASED-UPON-COUNSEL‘S CONFLICT OF INTEREST AND INEFFECTIVE-
NESS SEEKING TO WITHDRAW THE PLEA.
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
The identified inactions and omissions of counsel's denied the petitioner
of a fair hearing at the suppression hearing,where the petitioner moves
that the court to withdraw the guilty plea,because the petitioner is actual
innocence of the guns possession. The petititioner guilty plea was un-
intelligent and involuntory,because the crime in which the petitioner
Pleaded guilty to was cercion by plea counsel's. Petitioner was denied his
rights to effective assistance of counsel where counsel's had conflict of
inte
performance to allow the petitioner to plea guilty where the evidence
establish that the petitioner did not owe the guns.
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(b) Direct Appeal of Ground Three:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes [| No
(2) If you did not raise this issue in your direct appeal, explain why:

Because counsel's was ineffective of counsel and had a conflict of
(c) PoC Conon Proceediage? the criminal proceedings denied the right to appeal
(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes [] No

(2) If you answer to Question (c)(1) is “Yes,” state:

 

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?
Yes Lj No [ ]

(4) Did you appeal from the denial of your motion, petition, or application?
Yes LJ - No

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
Yes No

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 
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GROUND FOUR: COUNSEL'S WAS INEFFECTIVE DURING TH
ROUND FOUR: COUNSEL'S WAS INEFFECTIVE, NG THE SENTENCE PHASE BY
SENTENCE

Prior to the sentencing phase counsel's h

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(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this
issue:

 

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(a) Supporting facts (Do not argue or cite law. Just state the specific facts that im.):
as fic facts that support your claim estigation

and prepare for sentence. Prior to the petitioner sentence the petitioner
forward a letter to counsel's to challenge the petitioner prior convictions.
In a respond to the petitioner letter counsel's alleges that he has no
knowledge of the State law,and that the petitioner was facing a mandatory
sentence on two prior convictions. The two prior convictions in which the
court used to enhance the petitioner sentence:(1) Crime Trafficking in
illegal drugs,and (2) Crime Trafficking in illegal drugs. The State statute
of the Crime Trafficking in illegal drugs only spoke on the statutory but
not the numerates listed in the statute. Counsel's was unfamilar with

the State law,and had failed to object to the presentence report based upon
counsel's being unfamilar with the law amounted to the petitioner being
denied counsel's at a critical stage of the proceedings. The petitioner
have a right to effective assistance of counsel under the Sixth Amendment of

the

Constitution.

United—States.
(b) Direct Appeal of Ground Four:

(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes [| No fF]

(2) If you did not raise this issue in your direct appeal, explain why:

Because counsel's was ineffective entirely during the: critical
stages of the proceedings:(1) Failing to file a notice of appeal; (2)

material witnesses to testify,and (3) allow the
(c) Post-Conviction Proceedings: petitioner to plea guilty to a crime tha id not

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes [| No

(2) If you answer to Question (c)(1) is “Yes,” state:
Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):
Date of the court’s decision:

 

 

Result (attach a copy of the court’s opinion or order, if available):

 
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(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No [|

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [_] No ]

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No []

(6) If your answer to Question (c)(4) is “Yes,” state:
Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

13. Is there any ground in this motion that you have not previously presented in some federal court? If so, which
ground or grounds have not been presented, and state your reasons for not presenting them:

 

14. Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
you are challenging? Yes No

If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the

issues raised.

 
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15. Give the name and address, if known, of each attorney who represented you in the following stages of the
you are challenging:
(a) At the preliminary hearing:
5) Manny Arora/75 West Wieuca Road NE,Atanta,Georgia, 30342
' Ly .
(b) At the arraignment and plea:
BOTH COUNSEL'S DURING THE ARRAIGMENT AND THE PLEA HEARING.
(c) At the trial:
(d) At sentencing:
BOTH VOUNSEL'S AT THE SENTENCING HEARING
(e) On appeal:
NONE
(f) In any post-conviction proceeding:
NONE
(g) On appeal from any ruling against you in a post-conviction proceeding:
NONE
16. Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court
and at the same time? Yes [| No!
17. Do you have any future sentence to serve after you complete the sentence for the judgment that you are
chajlenging? Yes [| No [F
(a) If so, give name and location of court that imposed the other sentence you will serve in the future: -
(b) Give the date the other sentence was imposed:
(c) Give the length of the other sentence:
(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
sentence to be served in the future? Yes [| No [|
18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain

why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

 
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* The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) as contained in 28 U.S.C. § 2255,
paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
from the latest of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in violation of
the Constitution or laws of the United States is removed, if the movant was prevented from making such a
motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review; or
(4) the date on which the facts supporting the claim or claims presented could have been discovered
through the exercise of due diligence.
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Therefore, movant asks that the Court grant the following relief:

DECLARE THE FOLLOWING: (1) THAT THE PETITIONER COUNSEL'S WAS INEFFECTIVE
FAILING TO APPEAL# (2) FAILED TO CALL MATEIRAL WITNESSES , AND (3) FAILING TO

  

—CHALLEN . H
or any other relief t0 which movant may be entitled .

 

Signature of Attomey (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion
under 28 U.S.C. § 2255 was placed in the prison mailing system on DECEMBER 27,2016
(month, date, year)

 

Executed (signed)on | DECEMBER 27,2016 (date)

   

Signature of Movant

If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.
